IRE Gar nan

MAR 26 2018
CLERK, U,S, DISTRI
ceSTRICT

Rischele Huntington, pro se
P.O. Box 297

Sutton, AK 99674
907-538-1514

THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ALASKA
RISCHELE HUNTINGTON,

Plaintiff,

VS.

SHANNON W. FORE,
TRINA M. HOLT,
BRITTANY DUNLOP

Defendants.

 

Case No.3:17-cv-00235-TMB

 

Amended Complaint - Cover Sheets
( Civil Rule 15(a)(1)(A) )

COMES NOW plaintiff Rischele Huntington acting on her own behalf and amends
the complaint she filed on November 6, 2017, pursuant to Civil Rule 15(a)(1)(A).

In my Motion to Extend Time for Service of Process filed March 6, 2018,
I declared that defendant Brittany Dunlop was served after February 24, 2018, and that
defendants Shannon Fore and Trina Holt were not yet served. This declaration is on the
bottom of page 2. This declaration was a sworn statement, pursuant to 28 U.S.C. § 1746.

Civil Rule 15(a)(1)(A) says “A party may amend its pleading once as a matter of
course within: (A) 21 days after serving it ....”

Since this amended complaint is being filed within 21 days of service of the

original complaint to Brittany Dunlop, it is timely filed.

Case 3:17-cv-00235-TMB Document 8 Filed 03/26/18 Page 1 of 2
The main changes between the original complaint and this complaint are:

(a)

(b)

(c)

(d)

(e)

(f)

(g)
(h)
(i)
()

Now it says Shannon Fore “was at the time” employed as a trooper. (A.2)
Instead of saying that the policy or custom of Brittany Dunlop’s agency
violated my rights, it now says Brittany Dunlop personally participated in my
injury. (A.2).

Changed the violation of civil rights from “due process” to “Fourth
Amendment” for all claims. (C, Claims 1, 2, & 3).

For Shannon Fore, stated that I was arrested on February 28, 2013.

(C, Claim 1, Supporting Facts, page 3A)

Instead of saying Trina Holt left the Palmer district attorney’s office in “2014
or 2015,” it now says “July 2014.” Also stated, “I was released on bail on
May 10, 2013.” (C, Claim 2, Supporting Facts).

Reworded the Supporting Facts for Brittany Dunlop to be less conclusory.
(C, Claim 3, Supporting Facts).

Changed the amount of damages requested. (F.1).

Changed the amount of punitive damages requested. (F.2).

Removed the request for a declaration. (F.4).

Omitted the explanation about not filing the Prisoner version .

Executed on March /G_, 2018, in Eagle River, Alaska.

Kah fh Lo

Rischele Hudington

The following parties will be served by the following means,

pursuant to Civil Rule 5(b)(2):

Shannon Fore, by depositing it with the clerk (as his address is unknown)
Trina Holt, by depositing it with the clerk (as her address is unknown)
Brittany Dunlop, by mail to 515 E. Dahlia, #150, Palmer, AK 99645

 

3:17-cv-00235-TMB Amended Complaint - Cover Sheets Page 2

Huntington v. Fore, et al.

Case 3:17-cv-00235-TMB Document 8 Filed 03/26/18 Page 2 of 2
